
11 N.Y.2d 893 (1962)
Arlene W. Potter, Respondent,
v.
State of New York, Appellant. (Claim No. 36066.)
Court of Appeals of the State of New York.
Argued April 2, 1962.
Decided April 26, 1962.
Louis J. Lefkowitz, Attorney-General (Henderson G. Riggs and Paxton Blair of counsel), for appellant.
Louis Young and La Verne F. O'Dell for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE and FOSTER. Judge FROESSEL dissents and votes to modify the judgment of the Court of Claims by reducing the amount thereof to $300, the undisputed value of the three parcels actually appropriated.
Judgment affirmed, with costs. (County of Broome v. McKune, 293 N.Y. 809.) No opinion.
